
RICHARD L. HOLMES, Retired Appellate Judge.
The prior judgment of this court has been reversed and remanded by the Supreme Court of Alabama. On remand to this court, and in compliance with the supreme court’s opinion of July 14, 1995, 669 So.2d 148, the judgment is now reversed and the case is remanded to the trial court for proceedings consistent with the supreme court’s opinion of July 14,1995.
The foregoing opinion was prepared by Retired Appellate Judge RICHARD L. HOLMES while serving on active duty status as a judge of this court under the provisions of § 12-18-10(e), Ala.Code 1975.
REVERSED AND REMANDED WITH INSTRUCTIONS.
All the Judges concur.
